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         Trump administration acknowledges another error in a high-profile deportation

         In a late Friday court filing, immigration officials said a claim by a Guatemalan man — a key plank of the government’s response in a class action lawsuit — was based on erroneous information.




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                                                         Demonstrators wave Mexican flags during a protest calling for immigration reform, Feb. 2, 2025, in Los

                                                         Angeles. Eric Thayer | AP




                                                         By   KYLE   CHENEY

                                                         05/16/2025    10:38   PM   EDT




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                                                         When a Guatemalan man sued the Trump administration in March for
                                                         deporting him to Mexico despite a fear of persecution, immigration officials
                                                         had a response: The man told them himself he was not afraid to be sent there.
                                                         “Upon further investigation … ICE was unable to identify an officer or officers
                                                         who
                                                         But inasked
                                                                 a lateO.C.G.
                                                                        Fridayifcourt
                                                                                 he feared a return
                                                                                      filing,       to Mexico,” said
                                                                                              the administration     Brian Ortega,
                                                                                                                 acknowledged  thatassistant
                                                                                                                                    this
                                                         field
                                                         claim — a key plank of the government’s response to a high-stakes classaaction
                                                               office  director for ICE’s Enforcement   and Removal   Operations, in   sworn
                                                         statement to the
                                                         lawsuit — was    federal
                                                                        based     judge overseeing
                                                                              on erroneous         the lawsuit.
                                                                                            information.

                                                         The mistake may have been costly: The judge overseeing the lawsuit said last
                                                                                                Advertisement


                                                         month he did not order the administration to facilitate O.C.G.’s immediate
                                                         return from Mexico in part because of the dispute. Instead, U.S. District Judge
                                                         Brian Murphy, a Biden appointee based in Massachusetts, ordered expedited
                                                         fact-finding, which helped unearth the mistake.

                                                         ICE’s acknowledgment is the latest in a string of errors that have led judges to
                                                         fault the administration for attempting to carry out President Donald Trump’s
                                                         mass deportation campaign at a breakneck pace — often at the expense of due
                                                         process.

                                                         It occurred in the
                                                         Immigrations    andcase of Kilmar
                                                                             Customs       Abrego Garcia,
                                                                                       Enforcement         a Salvadoran
                                                                                                   officials now say theyman  —no
                                                                                                                           have accused
                                                                                                                                   record
                                                         of gang ties by the administration — who  was  hurriedly deported  to his home
                                                         of anyone being told by the man, identified only by the initials O.C.G. in court
                                                         country  in violation
                                                         papers, that            of a courtoforder
                                                                       he was unafraid        goingthat found he
                                                                                                    to Mexico.   could
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                                                                                                                                say,for
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                                                         by a local gang.
                                                         attributable  to aIt“software
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                                                                                                               “ENFORCE                 a
                                                                                                                            alien removal
                                                         Venezuelan
                                                         module” thatman  deported
                                                                      tracks        to Eldeportation
                                                                             individual   Salvador incases
                                                                                                      March  despite
                                                                                                           and  allowsa staff
                                                                                                                        court-approved
                                                                                                                              to insert
                                                         settlement
                                                         comments.  requiring the administration  to adjudicate his asylum    claim first.




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                                                         Many of those targeted by Trump’s invocation of the Alien Enemies Act — a
                                                         wartime power the administration has wielded to speed deportations of those
                                                         the government deems “terrorists” or “gang members — have claimed they
                                                         were erroneously identified as members of a violent Venezuelan gang. The
                                                         Supreme Court on Friday blocked Trump from another round of Alien Enemies
                                                         Act deportations, warning that the administration had failed to provide a
                                                         meaningful chance for those targeted to contest their designation as gang
                                                         members.

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                                                                                                     AD




                                                         O.C.G.’s case is part of a separate lawsuit against the administration’s decision
                                                         to rely on so-called “third countries” for deportation. Under the
                                                         administration’s policy, if an immigrant’s home country won’t accept them, or
                                                         they have a legitimate fear of returning, authorities may send them to an
                                                         alternate country instead.

                                                         However, Murphy has blocked such deportations without notice, saying those
                                                         deported under the “third country” policy must have a similar opportunity to
                                                         raise challenges and legitimate fears of torture or persecution.

                                                         O.C.G.’s case was one of the original factors in Murphy’s decision. The man
                                                         said he fled Guatemala in April 2024 to escape persecution. He claims that
                                                         while crossing through Mexico, he was targeted for being gay, raped and held
                                                         captive until his sister paid a ransom. He then arrived in the United States.

                                                         In February 2025, a judge granted him withholding of removal to Guatemala,
                                                         finding his fear of persecution to be legitimate. But the administration quickly
                                                         deported him to Mexico without notice, his attorneys sa

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                                                               In his ruling blocking third-country deportations without notice, Murphy
                                                               referenced the administration’s claim that O.C.G. had told ICE he was unafraid
                                                               to return to Mexico, but he said he didn’t buy it because it was based on
                                                               hearsay from Ortega. However, because of the dispute, Murphy declined to
                                                               immediately order the government to facilitate O.C.G.’s return from Mexico.
                                                               It’s unclear whether the admission from the Trump administration will alter
                                                               his thinking.

                                                               The administration has appealed Murphy’s order to the 1st Circuit Court of
                                                               Appeals, which sided with Murphy on Friday and rejected the government’s
                                                               effort to quickly lift the block on third-country deportations.


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    U.S.               Immigration                Trump Administration          Deportation           Mass Deportations




    Trump Administration Admits Another
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    Published May 17, 2025 at 8:24 AM EDT




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         LATEST         Palm Springs Explosion At Fertility Clinic—What To Know




                                                                                 By Martha McHardy
                                                                                    US News Reporter

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    T         he Trump administration has acknowledged that a person was deported from the United States on the back of
              erroneous information.

    Why It Matters
    It comes after Kilmar Abrego Garcia, a 29-year-old Maryland resident, was deported to El Salvador last month despite a
    court order blocking his removal. Arrested in 2019 and accused of being part of the MS-13 gang—a group the Trump
    administration labels a terrorist organization—Abrego Garcia denied the claim, though two judges found him to be a
    member based on confidential information provided to the court. He had been protected from deportation due to fears
    that rival gangs in El Salvador would target him. ICE officials now say his deportation was the result of an
    "administrative error." Abrego Garcia has no U.S. criminal record.

    Trump campaigned on a hard-line immigration stance, pledging to carry out the largest mass deportation in U.S. history.
    In the initial months of his presidency, his administration said it had deported around 100,000 illegal immigrants, many
    following his invocation of the seldom used Alien Enemies Act of 1798, which grants the president authority to deport
    non-citizens without them appearing before a judge.
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    What To Know                     GO AD-FREE

    TheLATEST
        Trump administration has acknowledged
              Palm Springs Explosion                 another error
                                     At Fertility Clinic—What      in a deportation case involving a Guatemalan man,as first
                                                              To Know
    reported by Politico.

    In a late Friday court filing, U.S. Immigration and Customs Enforcement (ICE) admitted that it wrongly said a
    Guatemalan man had told officials he was not afraid to be deported to Mexico—a statement central to the government's
    defense in an ongoing class action lawsuit. The man, identified in court papers only by the initials O.C.G., said he was
    persecuted in both Guatemala and Mexico before arriving in the United States.

    ICE officials now say there is no record confirming that O.C.G. ever stated he was unafraid to return to Mexico. The
    discrepancy, they assert, was caused by flawed data entry in a software system known as the "ENFORCE alien removal
    module," which tracks deportation cases and allows officers to log case notes.

    "Upon further investigation...ICE was unable to identify an officer or officers who asked O.C.G. if he feared a return to
    Mexico," wrote Brian Ortega, assistant field office director for ICE's Enforcement and Removal Operations, in a sworn
    statement to the federal court.

    U.S. District Judge Brian Murphy, who is overseeing the class-action case, declined in April to immediately order the
    government to bring O.C.G. back from Mexico, in part because of the administration's claim that the man had not
    expressed fear of returning. Instead, Murphy ordered expedited fact-finding—a process that ultimately revealed the
    mistake.




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         LATEST         Palm Springs Explosion At Fertility Clinic—What To Know




    In this July 8, 2019, file photo, a U.S. Immigration and Customs Enforcement (ICE) officer looks on during an operation in Escondido, Calif.   GREGORY
    BULL/AP




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    O.C.G.'s case is partGOof AD-FREE
                              a broader legal challenge to the administration's use of so-called "third-country" deportations, a
    policy that allows immigrants to be sent to countries other than their own if their native governments refuse to accept
       LATEST     Palm Springs Explosion At Fertility Clinic—What To Know
    them  or if they fear persecution at home. Murphy has blocked such deportations without prior notice, ruling that
    individuals must be given a meaningful opportunity to contest their transfer and raise claims of torture or persecution.

    O.C.G., who fled Guatemala in April 2024, said he faced persecution at home and endured rape and captivity in Mexico
    for being gay. In February, an immigration judge granted him protection from deportation to Guatemala. But ICE
    deported him to Mexico soon after — without notice and allegedly in violation of due process.


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       Venezuela Slams US 'Kidnapping' as Toddler Returned in Deportation Flight


    Judge Murphy cited O.C.G.'s case in his ruling halting third-country deportations without notice. Although he expressed
    skepticism about the government's claim regarding O.C.G.'s supposed statement to ICE, the disputed nature of the
    evidence led him to hold off on ordering the man's return. It is unclear if the administration's new admission will alter
    that stance.

    On Friday, the 1st U.S. Circuit Court of Appeals refused to remove a nationwide injunction imposed by Murphy in April,
    barring the rapid deportation of immigrants living in the U.S. illegally to nations other than their own country of origin

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    without first hearingGO
                          their concerns about safety.
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    Also on Friday,
       LATEST       the
                 Palm   Supreme
                      Springs     CourtAttemporarily
                              Explosion                 blocked further
                                          Fertility Clinic—What  To Knowdeportations under the Alien Enemies Act, a wartime
    statute revived by Trump to expedite deportations of those alleged to be gang members or terrorists, citing the
    government's failure to provide adequate due process.

    What Happens Next
    The case of O.C.G. will return to U.S. District Judge Brian Murphy, who must now decide whether the Trump
    administration's admission changes the legal and humanitarian calculus for ordering the man's return from Mexico



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 ICE Officials Just Admitted to Another Major Deportation Error
 They blamed it on technology.

 RUSS CHOMA




 AP Photo/Alex Brandon



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 The Trump administration’s race to deport as many people as possible, as quickly as possible, has led to another major error. This time, the administration is admitting it—and it
 could have a major effect on deportation lawsuits.

 One of the challenges to the administration’s mass deportation scheme is a class-action lawsuit, filed by some of the deported immigrants. At the center of the case is a Guatemalan
 man, identified only as O.C.G., who despite trying to claim asylum, was sent to Mexico. Attorneys representing Immigration and Customs Enforcement had previously claimed that the
 man told ICE officials that he had no problem being sent to Mexico.

 Now, according to a report in Politico, they are admitting they have no record of an ICE agent ever being told this by the man. In court filings, ICE blames a “software tool” that allows
 officials to insert comments into an asylum seeker’s file. They say that an entry in the system noted that the man didn’t mind returning to Mexico. But ICE officials haven’t been able to
 identify any specific officer who asked the man about returning to Mexico, which means the entry was made without basis.

 The reason this matters so much is that O.C.G.’s case is part of a lawsuit to block Trump’s “third country” policy. It says that if an asylum seeker tells investigators they are afraid to go
 back to their home country—or if an immigrant’s home country won’t accept them back—they can still be forced to leave the United States, as long as they are sent to a third country.

 This rule has already been used by the Trump administration to send immigrants to El Salvador, Costa Rica, and Panama. The administration also announced plans to send some Asian
 immigrants to Libya, and is in discussion with Rwanda as another possible site. Attorneys representing O.C.G. and other asylum seekers say they are not being given an opportunity to
 make their cases that the third country might be as dangerous as their home country.

 In the case of O.C.G., his attorneys have said that he was targeted in Mexico for being a gay man. The man said that in April 2024 he was traveling through Mexico on the way to the
 U.S. to try and claim asylum, when he was kidnapped, raped, and held for ransom by a group of men.

 Despite that dangerous history, O.C.G. says that he was deported to Mexico anyway, and O.C.G.’s attorneys have asked the federal judge overseeing the lawsuit to have him returned to
 the U.S. The judge did pause the third country deportation program, but based on ICE’s original assertion that O.C.G. had no problem returning to Mexico, the judge declined to order
 the man’s return.

 The administration has appealed the order to stop “third country” deportations up to a federal appeals court. On Friday, that court did agree with the lower court’s decision to pause
 the deportations, at least temporarily. That decision freezes anymore deportations to El Salvador or Libya for the time being, but does not address the fate of O.C.G., or other
 immigrants who have already been improperly deported to a third country.




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